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 1    DAVID Z. CHESNOFF, ESQ.
 2    Pro Hac Vice pending
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 8
      Attorneys for Defendant, ALEXANDER SMIRNOV
 9

10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
                                   ******
12
      UNITED STATES OF AMERICA, )
13                                   )
14                   Plaintiff,      )
                                     )  CASE NO. 2:24-CR-00091-ODW
15
      v.                             )
16                                   )
17    ALEXANDER SMIRNOV,             )  DATE OF HEARING:
18
                                     )  February 26, 2024
                                     )  TIME OF HEARING: 9:00 a.m.
19
                     Defendant,      )
20    _______________________________)
21
       DEFENDANT’S SUPPLEMENT TO OPPOSITION TO GOVERNMENT’S
22
         APPLICATION FOR REVIEW OF MAGISTRATE JUDGE'S BAIL
23                            ORDER
24
           COMES NOW, Defendant, ALEXANDER SMIRNOV (“Mr. Smirnov”), by
25

26    and through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A.
27
      SCHONFELD, ESQ., of the law firm of CHESNOFF & SCHONFELD and hereby
28
                                            1
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 1    files his Supplement to Opposition (ECF 33) to Government’s Application for
 2
      pretrial Detention (ECF No. 11).
 3

 4          Dated this 26th day of February, 2024.

 5
                                           Respectfully Submitted:
 6

 7                                         CHESNOFF & SCHONFELD
 8
                                            /s/ Richard A. Schonfeld
 9                                         DAVID Z. CHESNOFF, ESQ.
10                                         Pro Hac Vice pending
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                                           dzchesnoff@cslawoffice.net
16                                         Attorneys for Defendant
17                                         ALEXANDER SMIRNOV
18

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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2
      A.    THIS HONORABLE COURT CAN IMPOSE ADDITIONAL
 3
            CONDITIONS OF RELEASE WHICH DO NOT REQUIRE
 4          DEFENDANT TO BE DETAINED PENDING TRIAL
 5
            United States Pretrial Services Officer Fernando Basulto, from the Central
 6
      District of California, performed additional investigation so that a recommendation
 7

 8    regarding custodial status could be made to this Honorable Court. Officer Basulto,
 9
      similar to United States Pretrial Services Officer Emily McKillip in the District of
10
      Nevada, has recommended that Mr. Smirnov be released on conditions.
11

12          In the event that this Honorable Court continues to have concerns regarding
13
      Mr. Smirnov’s alleged risk of flight, and considering that this is not a presumption
14
      case under 18 U.S.C. section 3142, Mr. Smirnov respectfully proposes that the Court
15

16    could impose the following additional conditions:
17

18             • Corporate Surety bond;

19
               • Appointment of Diana Lavrenyuk as third-party custodian;
20

21
               • House arrest with the exception that Defendant can meet with his legal
22
                  counsel and medical providers;
23

24
               • Financial restrictions, such as appointment of a Special Master over the
25

26                corporate account that Mr. Smirnov has access to and/or requiring that
27                a different partner in the business act as signatory; and
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                                               3
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 1              • Execution of a Waiver of Extradition. It should be noted that Counsel
 2
                   Chesnoff confirmed with Ziv Bilaus, counsel for consular affairs at the
 3

 4                 Israeli Consulate in Los Angeles, that if the Court requests that the
 5                 Israeli consulate(s) and Embassy not reissue a passport, they can honor
 6
                   the request.
 7

 8          Accordingly, conditions can be fashioned to ensure that Defendant is present
 9    for the court proceedings and trial in this case.
10
            DATED this 26th day of February, 2024.
11

12                                            Respectfully Submitted:
13
                                              CHESNOFF & SCHONFELD
14

15                                               /s/ Richard A. Schonfeld
16                                            DAVID Z. CHESNOFF, ESQ.
                                              Pro Hac Vice pending
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23                                            Attorneys for Defendant
                                              ALEXANDER SMIRNOV
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                                                 4
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 1                             CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 26th day of February, 2024, I caused the forgoing
 3

 4    document to be filed electronically with the Clerk of the Court through the CM/ECF
 5
      system for filing; and served on counsel of record via the Court's CM/ECF system.
 6

 7
                                      /s/ Rosemary Reyes____
 8
                                      Employee of Chesnoff & Schonfeld
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